 Case 21-70415-JAD        Doc 45-1 Filed 02/21/22 Entered 02/21/22 15:07:00                         Desc
                           Certificate of Service Page 1 of 1
                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE: Gregory Burkhart                                BK NO. 21-70415 JAD
           Suzanne Lefko-Burkhart
                               Debtor(s)                   Chapter 13

    Rocket Mortgage, LLC f/k/a Quicken
    Loans, LLC
                                Movant
                 vs.

    Gregory Burkhart
    Suzanne Lefko-Burkhart
                                      Debtor(s)

    Eric E. Bononi,
                                      Trustee

                         CERTIFICATE OF SERVICE
         NOTICE OF DEBTOR’S REQUEST FOR FORBEARANCE DUE TO THE
                            COVID-19 PANDEMIC
    I, Brian C. Nicholas of KML Law Group, P.C., certify that I am, and at all times hereinafter
    mentioned was, more than 18 years of age and that on February 21, 2022, I served the above
    captioned pleading, filed in the proceeding on the parties at the addresses shown below;

    Debtor(s)                                              Attorney for Debtor(s)
    Gregory Burkhart                                       Lawrence W. Willis, Esquire
    102 Shady Drive                                        Willis & Associates
    Indiana, PA 15701                                      201 Penn Center Blvd Suite 310
                                                           Pittsburgh, PA 15235
    Suzanne Lefko-Burkhart
    102 Shady Drive                                        Trustee
    Indiana, PA 15701                                      Eric E. Bononi
                                                           20 North Pennsylvania Avenue (VIA ECF)
                                                           Suite 201
                                                           Greensburg, PA 15601


Method of Service: electronic means or first class mail

Dated: February 21, 2022

                                                           /s/Brian C. Nicholas Esquire
                                                           Brian C. Nicholas Esquire
                                                           Attorney I.D. 317240
                                                           KML Law Group, P.C.
                                                           BNY Mellon Independence Center
                                                           701 Market Street, Suite 5000
                                                           Philadelphia, PA 19106
                                                           201-549-5366
                                                           bnicholas@kmllawgroup.com
